Case 2:10-cv-04742-ADS-ARL Document 7-2 Filed 12/09/10 Page 1 of 25 PagelD #: 46

Nicholas Zirogiannis v. Dreambuilder Investmentts LLC et al
Index No. 10-cv-4742

Gregory E. Palmer Affidavit
Exhibit A

Summons and Complaint
State of New York - Department of State

Division of Corporations t
Party Served: Plaintif£/Petitioner:

AMERICAN SERVICING AND RECOVERY GROUP, ZIROGIANNIS, NICHOLAS
LLC ,

C/O INCORP SERVICES INC
ONE COMMERCE PLAZA

99 WASHINGTON AVE STE 805A
ALBANY, NY 12210-2822

Dear Sir/Madam:

Enclosed herewith is a legal document which was served upon the Secretary of
State on 10/19/2010 pursuant to SECTION 303 OF THE LIMITED. LIABILITY COMPANY
LAW. This copy is being transmitted pursuant to such statute to the address
provided for such purpose.

Very truly yours,
Division of Corporations

AO 440 (Rev. 12/09) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of New York
NICHOLAS ZIROGIANNIS,
on behaif of plaintiff and the classes defined herein
Plaintiff ) , 1
} emmmGV LO 4742

DREAMBUILDER INVESTMENTS, LLC; AMERICAN )
RECOVERY AND SERVICING GROUP, LLC )

)

Defendant

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) DREAMBUILDER INVESTMENTS, LLC AMERICAN SERVICING AND

30 WALL STREET, 6TH FLOOR RECOVERY GROUP, LLC
NEW YORK, NEW YORK 10005 C/O INCORP SERVICES INC.
ONE COMMERCE PLAZA

99 WASHINGTON AVE STE 805A
ALBANY, NEW YORK 12210-2822

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or.an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: KLEINMAN LLC
626 RXR PLAZA
UNIONDALE, NEW YORK 11556-0626

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

' CLERK OF COURT

ae OCT 15 2010 Cred Al WY,

Signature of Clerk or D&puty Clerk

CV 10 4742

IN THE UNITED STATES DISTRICT COURT ST, IL
FOR THE EASTERN DISTRICT OF NEW YORK

xX
NICHOLAS ZIROGIANNIS :
on behalf of plaintiff and the classes
defined herein, wee -
Plaintiff hur COURT. ED.NY.
vs. We r *
: COMPLAINT - CLASS acrioNt 15 7nin
DREAMBUILDER INVESTMENTS LLC; eytge ii a AEE
AMERICAN SERVICING AND : _ LONG ISLAND OFFICE
RECOVERY GROUP, LLC;
Defendants. :
X
INTRODUCTION
1. _ Plaintiff Nicholas Zirogiannis brings this action to secure redress against

improper mortgage servicing and collection practices engaged in by defendants Dreambuilder
Investments LLC (“DBI”) and American Servicing and Recovery Group, LLC (“ASRG”).
Plaintiff alleges violation of the Truth in Lending Act, 15 U.S.C. §1601 et seq. ("TILA"), the
Real Estate Settlement Procedures Act, 12 U.S.C, §2605 ("RESPA"), and the Fair Debt
Collection Practices Act, 15 U.S.C. §1692 et seq. ("FDCPA").
JURISDICTION AND VENUE _

2. This Court has jurisdiction under 28 U.S.C. §§1331, 1337 and 1367, 15 .
U.S.C. §§1640 (TILA) and 1692k (FDCPA), and 12 U.S.C. §2614 (RESPA).

3. Venue in this District is proper because the events at issue occurred here.

PARTIES
Plaintiffs

4. Plaintiff Nicholas Zirogiannis resides in a home which he owns.in

Melville, New York.
DBI
5. Defendant DBI is a limited liability company chartered under New York
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law with offices at 30 Wall Street, 6" Floor, New York, NY 10005.

6. Defendant DBI is engaged in the business of acquiring allegedly defaulted
residential mortgage loans and attempting to collect them.

7. Defendant DBI states on its web site that “Dreambuilder Investments is a
private mortgage investment.company which specializes in the acquisition, management and
liquidation of defaulted residential mortgages nationwide.” (www.dreambuilder.net)

8. Defendant DBI uses the mails and telephone system in conducting its
business.

9. Defendant DBI is a debt collector as defined in the FDCPA.

10. On information and belief, defendant DBI invests in more than $1 million
in residential mortgage loans each year.

ASRG

11. Defendant ASRG is a limited liability company organized under Texas
law with principal offices at 4144 N. Central Expressway, Suite 900, Dallas, TX 75204. It does
business in New York. Its registered agent and office is Incorp Services, Inc., One Commerce
Plaza, 88 Washington Avenue, Suite 805A, Albany, NY 12210.

12, Defendant ASRG is engaged in the business of acquiring allegedly
defaulted residential mortgage loans and attempting to collect them.

13. Defendant ASRG uses the mails and telephone system in conducting its
business.

14. Defendant ASRG is a debt collector as defined in the FDCPA. —

15. On information and belief, defendant ASRG invests in more than $}
million in residential mortgage loans each year.

FACTS
16. On or about September 29, 2010, DBI sent plaintiff, on behalf of ASRG,

the document attached as Exhibit A.

17. Exhibit A was the first document plaintiff received from either DBI or

ASRG.
18... On information and belief, based on its contents, Exhibit A was the first
document either DBI or ASRG sent to plaintiff. .
19. Exhibit A sought to collect an alleged defaulted residential mortgage loan
entered into for personal, family or household purposes and not for business purposes.
20. On information and belief, ASRG claims to have purchased the loan and

DBI was attempting to collect it on behalf of ASRG.
21. On information and belief, the first involvement of both ASRG and DBI

with the alleged loan was after it was allegedly in default.

— COUNT I - TRUTH IN LENDING ACT

22. ‘Plaintiff incorporates paragraphs 1-21.

23. This claim is against ASRG.

24. The Truth in Lending Act, at 15 U.S.C. §1641(g), requires notice of the

transfer of ownership of a residential mortgage loan.

25. Section 1641 (g) provides:

(g) Notice of new creditor.
(1) In general. In addition to other disclosures required by this title,
not later than 30 days after the date on which a mortgage loan is sold
or otherwise transferred or assigned to a third party, the creditor that

_ is the new owner or assignee of the debt shall notify the borrower in
writing of such transfer, including-

(A) the identity, address, telephone number of the new
creditor; '

(B) the date of transfer;

- (C) how to reach an agent or party having authority to act on
behalf of the new creditor;

(D) the location of the place where transfer of ownership of the
debt is recorded; and

(E) any other relevant information regarding the new creditor.

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(2) Definition. As used in this subsection, the term "mortgage loan"
means any consumer credit transaction that is secured by the
principal dwelling of a consumer. —

26. Implementing Federal Reserve Board Regulation Z provides, at 12 CFR.
§226.39: .
§ 226.39 Mortgage transfer disclosures.

(a) Scope. The disclosure requirements of this section apply to any covered

person except as otherwise provided in this section. For purposes of this
section:

(1) A "covered person" means any person, as defined in §226.2(a)(22),
that becomes the owner of an existing mortgage loan by acquiring
legal title to the debt obligation, whether through a purchase, —
assignment, or other transfer, and who acquires more than one
mortgage loan in any twelve-month period. For purposes of this
section, a servicer of a mortgage loan shall not be treated as the owner
of the obligation if the servicer holds title to the loan or it is assigned
to the servicer solely for the administrative convenience of the
servicer in servicing the obligation.

(2) A "mortgage loan" means any consumer credit transaction that is
secured by the principal dwelling of a consumer.

(b) Disclosure required. Except as provided in paragraph (c) of this section,
any person that becomes a covered person as defined in this section shall
mail or deliver the disclosures required by this section to the consumer on or
before the 30th calendar day following the acquisition date. If there is more
than one covered person, only one disclosure shall be given and the covered
persons shall agree among themselves which covered person shall comply
with the requirements that this section imposes on any or all of them.

(1) Acquisition date. For purposes of this section, the date that the
covered person acquired the mortgage loan shall be the date of
acquisition recognized in the books and records of the acquiring |

party.

(2) Multiple consumers. If there is more than one consumer liable on
the obligation, a covered person may mail or deliver the disclosures to
any consumer who is primarily liable. . . .

(d) Content of required disclosures. The disclosures required by this section
shall identify the loan that was acquired or transferred and state the
following:

(1) The identity, address, and telephone number of the covered person
who owns the mortgage loan. If there is more than one covered
person, the information required by this paragraph shall be provided
for each of them.

Oo

(2) The acquisition date recognized by the covered person.

(3) How to reach an agent or party having authority to act on behalf
of the covered person (or persons), which shall identify a person (or
persons) authorized to receive legal notices on behalf of the covered
person and resolve issues concerning the consumer's payments on the
loan. However, no information is required to be provided under this
paragraph if the consumer can use the information provided under
paragraph (d)(I) of this section for these purposes. If multiple persons
are identified under this paragraph, the disclosure shall provide
contact information for each and indicate the extent to which the
authority of each agent differs. For purposes of this paragraph (d)(3),

it is sufficient if the covered person provides only a telephone number
provided that the consumer can use the telephone number to obtain
the address for the agent or other person identified.

(4) The location where transfer of ownership of the debt to the
covered person is recorded. However, if the transfer of ownership has
not been recorded in public records at the time the disclosure is _
provided, the covered person complies with this paragraph by stating
this fact.
(e) Optional disclosures. In addition to the information required to be
disclosed under paragraph (d) of this section, a covered person may, at its
option, provide any other information regarding the transaction.
27. No notice purporting to comply with 15 U.S.C. §1641(g) or 12 C.E.R.
§226.39 was furnished to plaintiff in connection with the assignment of their loan to ASRG. —
28. On information and belief, based on the contents of Exhibit A, ASRG
regularly fails to provide any such notice. The omission of the notice is therefore part of a pattern
and practice of such omissions.
29.  ASRG violated TILA, 15 U.S.C. §1641(g), by failing to give notice of a
new creditor. .
CLASS ALLEGATIONS
30. Pursuant to Fed.R.Civ.P. 23(a) and (b)(3), plaintiffs bring this claim on
behalf of a class.
31.  Theclass consists of (a) all natural persons (b) whose residential mortgage

loans were acquired by defendant ASRG (c) on or after a date one year prior to the filing of this

action and on or before a date 20 days after the filing of this action (d) without a notice of

transfer of creditor being sent to the person.

32. The class is so numerous that joinder is impracticable. On information and
belief, there are more than 50 members of the class.

33. , There are questions of law and fact common to the members of the class,
which common questions predominate over any questions that affect only individual class
members. The predominant common questions are:

a. Whether ASRG has a practice of not complying with 15 U.S.C.
§1641(g).
b. Whether ASRG thereby violated TILA.
34. Plaintiff's claim is typical of the claims of the class members. All are
based
on the same factual and legal theories.

35. Plaintiff will fairly and adequately represent the interests of the class
members. Plaintiff has retained counsel experienced in consumer credit and class action cases.

36.  Acclass action is superior to other alternative methods of adjudicating this
dispute. Individual cases are not economically feasible.

WHEREFORE, plaintiff requests that the Court enter judgment in favor of
plaintiff and the class and against defendant for:

(1) - Statutory damages;
(2) A declaration that Exhibit A violates TILA;
(3) — Attorney's fees, litigation expenses and costs of suit;
(4) | Such other or further relief as the Court deems proper.
COUNT II - FDCPA
37. Plaintiff incorporates paragraphs 1-21.
38. This claim is against both defendants.

39. Exhibit A does not contain the notices required by 15 U.S.C. §1692g.

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40. No other document sent within five days thereafter contained such notices.
4l. Defendants thereby violated 15 U.S.C. §1692g.

42. Section 1692g provides:

§ 1692g. Validation of debts

(a) Notice of debt; contents. Within five days after the initial communication
with a consumer in connection with the collection of any debt, a debt
collector shall, unless the following information is contained in the initial
communication or the consumer has paid the debt, send the consumer a
written notice containing—

(1) the amount of the debt;
(2) the name of the creditor to whom the debt is owed;

(3) a statement that unless the consumer, within thirty days after
receipt of the notice, disputes the validity of the debt, or any portion
thereof, the debt will be assumed to be valid by the debt collector;

(4) a statement that if the consumer notifies the debt collector in
writing within the thirty-day period that the debt, or any portion
thereof, is disputed, the debt collector will obtain verification of the
debt or a copy of a judgment against the consumer and a copy of such
verification or judgment will be mailed to the consumer by the debt
collector; and :

(5) a statement that, upon the consumer's written request within the
thirty-day period, the debt collector will provide the consumer with
the name and address of the original creditor, if different from the
current creditor.

(b) Disputed debts. If the consumer notifies the debt coHector in writing
within the thirty-day period described in subsection (a) that the debt, or any
portion thereof, is disputed, or that the consumer requests the name and
address of the original creditor, the debt collector shall eease collection of the
debt, or any disputed portion thereof, until the debt collector obtains
verification of the debt or a copy of a judgment, or the name and address of

' the original creditor, and a copy of such verification or jadgment, or name

and address of the original creditor, is mailed to the consumer by the debt.
collector. Collection activities and communications that do not otherwise
violate this title may continue during the 30-day period referred to in
subsection (a) unless the consumer has notified the debt collector in writing
that the debt, or any portion of the debt, is disputed or that the consumer
requests the name and address of the original creditor. Any collection
activities and communication during the 30-day period:may not overshadow
or be inconsistent with the disclosure of the consumer's right to dispute the
debt or request the name and address of the original creditor.

(c) Admission of liability. The failure of a consumer to dispute the validity of

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a debt under this section may not be construed by any court as an admission
of liability by the consumer.

(d) Legal pleadings. A communication in the form of a formal pleading ina
civil action shall not be treated as an initial communication for purposes of
subsection (a).

(e) Notice provisions. The sending or delivery of any form or notice which
does not relate to the collection of a debt and is expressly required by the
Internal Revenue Code of 1986 [26 USCS §6§ 1 et seq.|, title V of Gramm-
Leach-Bliley Act [75 USCS §§ 6801 et seq.], or any provision of Federal or
State law relating to notice of data security breach or privacy, or any
regulation prescribed under any such provision of law, shall not be treated as
an initia] communication in connection with debt collection for purposes of
this section.

CLASS ALLEGATIONS

43. Pursuant to Fed. R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on
behalf of a class. .

44, The class consists of (a) all natural persons (b) sent a document in the

form
represented by Exhibit A (c) on or after a date 1 year prior to the filing of this action and on or
before a date 20 days after the filing of this action.

45. The class is so numerous that joinder is impracticable. On information and
belief, there are more than 50 members of the class.

46. There are questions of law and fact common to the members of the class,
which common questions predominate over any questions that affect only individual class
members. The predominant common question is whether Exhibit A violated the FDCPA.

47. Plaintiff's claim is typical of the claims of the class members. All are.

based
on the same factual and legal theories. .

48. . Plaintiff will fairly and adequately represent the interests of the class

members. Plaintiff has retained counsel experienced in consumer credit, debt collection abuse,

and class action cases.

49,

A class action is superior to other alternative methods of adjudicating this

dispute. Individual cases are not economically feasible.

WHEREFORE, plaintiff requests that the Court enter judgment in favor of .

plaintiff and the class and against defendants for:

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51.
52.

(1) Statutory damages;

(2) . A declaration that Exhibit A violates the FDCPA;

(3)  Attomey's fees, litigation expenses and costs of suit;
(4) Such other or further relief as the Court deems proper.

COUNT Hil - RESPA .

Plaintiff incorporates paragraphs 1-21.

This claim is against both defendants.

Section 2605 provides:

Servicing of mortgage loans and administration of escrow accounts

.. (b) Notice by transferor or loan servicing at time of transfer.

(1) Notice requirement. Each servicer of any federally related
mortgage loan shall notify the borrower in writing of any assignment,
sale, or transfer of the servicing of the loan to any other person.

(2) Time of notice.

(A) In general. Except as provided under subparagraphs (B)
and (C), the notice required under paragraph (1) shall be made
to the borrower not less than 15 days before the effective date
of transfer of the servicing of the mortgage loan (with respect
to which such notice is made).

(B) Exception for certain proceedings. The notice required
under paragraph (1) shall be made to the borrower not more
than 30 days after the effective date of assignment, sale, or
transfer of the servicing of the mortgage loan (with respect to
which such notice is made) in any case in which the
assignment, sale, or transfer of the servicing of the mortgage
loan is preceded by--

(i) termination of the contract for servicing the loan for
cause;

(ii) commencement of proceedings for bankruptcy of

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the servicer; or

(iii) commencement of proceedings by the Federal
Deposit Insurance Corporation or the Resolution Trust
Corporation for conservatorship er receivership of the
servicer (or an entity by which the servicer is owned or
controlled)....

(3) Contents of notice. The notice required under paragraph (1) shall
include the following information:

(A) The effective date of transfer of the servicing described in
such paragraph. :

(B) The name, address, and toll-free or collect call telephone
number of the transferee servicer. |

(C) A toll-free or collect call telephone number for (i) an
individual employed by the transferor servicer, or (ii) the
department of the transferor servicer, that can be contacted by
the borrower to answer inquiries relating to the transfer of
servicing.

(D) The name and toll-free or collect call telephone number for
(i) an individual employed by the transferee servicer, or (ii) the
department of the transferee servicer, that can be contacted by
the borrower to answer inquiries relating to the transfer of
servicing.

(E) The date on which the transferor servicer who is servicing
the mortgage loan before the assignment, sale, or transfer will
cease to accept payments relating to the loan and the date on
which the transferee servicer will begin to accept such

payments.

(F) Any information concerning the effect the transfer may
have, if any, on the terms of or the continued availability. of
mortgage life or disability insurance or an other type of
optional insurance and what action, if any, the borrower must
take to maintain coverage.

(G) A statement that the assignment, sale, or transfer of the
servicing of the mortgage loan does not affect any term or
condition of the security instruments other than terms directly
related to the servicing of such loan.

(c) Notice by transferee or loan servicing at time of transfer.
(1) Notice requirement. Each transferee servicer to whom the
servicing of an federally related mortgage loan is assigned, sold, or

transferred shall notify the borrower of any such assignment, sale, or
transfer.

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53.

(2) Time of notice.

(A) In general. Except as provided in subparagraphs (B) and
(C), the notice required under paragraph (1) shall be made to
the borrower not more than 15 days after the effective date of
transfer of the servicing of the mortgage loan (with respect to
which such notice is made).

(B) Exception for certain proceedings. The notice required
under paragraph (1) shall be made to the borrower not more
than 30 days after the effective date of assignment, sale, or
transfer of the servicing of the mortgage foan (with respect to
which such notice is made) in any case in which the
assignment, sale, or transfer of the servicing of the mortgage
loan is preceded by--

(i) termination of the contract for servicing the loan for
cause;

(ii) commencement of proceedings for bankruptcy of
the servicer; or

(iii) commencement of proceedings by the Federal —
Deposit Insurance Corporation or the Resolution Trust
Corporation for conservatorship or receivership of the
servicer (or an entity by which the servicer is owned or
controlled). ...

“Servicing” is defined in 12 U.S.C. §2605(i)(3) as “receiving any

scheduled loan payments from a borrower pursuant to the terms of any loan, including amounts

for escrow accounts... .”

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The amounts DBI and ASRG sought in Exhibit A were such payments.
Exhibit A does not comply with 12 U.S.C. §2605.

DBI and ASRG thereby violated 12 U.S.C. §2605.

12 U.S.C. §2605(f) provides:

(1) Damages and costs. Whoever fails to comply with any provision of this

section shall be liable to the borrower for each such failure in the following
amounts:

(1) Individuals. In the case of any action by an individual, an amount
equal to the sum of--

(A) any actual damages to the borrower as a result of the
failure; and

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(B) any additional damages, as the court may allow, in the case
of a pattern or practice of noncompliance with the
requirements of this section, in an amount not to exceed $

~ 1,000.

(2) Class actions. In the case of a class action, an amount equal to the
sum of—

(A) any actual damages to each of the borrowers in the class as
a result of the failure; and

(B) any additional damages, as the court may allow, in the case
of a pattern or practice of noncompliance with the
requirements of this section, in an amount not greater than $
1,000 for each member of the class, except that the total
amount of damages under this subparagraph in any class
action may not exceed the lesser of--
(i) $ 500,000; or
(ii) 1 percent of the net worth of the servicer.
(3) Costs. In addition to the amounts under paragraph (1) or (2), in
the case of any successful action under this section, the costs of the
action, together with any attorneys fees incurred in connection with
such action as the court may determine to be reasonable under the
circumstances. ...

58. The course of conduct described herein amounts to a pattern and practice

of violations of 12 U.S.C. §2605. .
CLASS ALLEGATIONS

59. Pursuant to Fed. R.Civ.P. 23(a) and (b)(3), plaintiff brings this claim on
behalf of a class.

60. The class consists of (a) all natural persons (b) who were sent a letter in
the form represented by Exhibit A (c) on or after a date 3 years prior to the filing of this action
and on or before a date 20 days after the filing of this action.

61. The class is so numerous that joinder is impracticable. On information
and belief, there are more than 50 members of the class.

62. There are questions of law and fact common to the members of the class,

which common questions predominate over any questions that affect only individual class

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members. The predominant common question is whether Exhibit A complies with 12 US.C.

§2605.

63. Plaintiff's claims are typical of the claims of the class members. All are

based on the same factual and legal theories.

64. Plaintiff will fairly and adequately represent the interests of the class

members. Plaintiff has retained counsel experienced in consumer credit and class action cases.

65.  Acclass action is superior to other alternative methods of adjudicating this

dispute. Individual cases are not economically feasible.

WHEREFORE, plaintiff requests that the Court enter judgment in favor of

plaintiff and the class and against defendants for:

(1) Statutory damages;

(2) A declaration that Exhibit A violates RESPA;

(3) Attorney's fees, litigation expenses and costs of suit;

(4) Such other or further relief as the Court deems proper.

Abraham Kleinman

KLEINMAN, LLC

626 RXR Plaza

Uniondale, New York 11556-0626
(516) 522-2621

(888) 522-1692 (FAX)

Pro hac vice admission to be applied for. -

Daniel A. Edelman

Cathleen M. Combs

EDELMAN, COMBS, LATTURNER
& GOODWIN, LLC

120 S. LaSalle Street, 18th Floor
Chicago, Illinois 60603

(312) 739-4200

(312) 419-0379 (FAX)

Abraham Kleitenge™

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JURY D
Plaintiff demands trial by jury.

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Abraham Kleinman

Case 210-tv-04742-ADS-ARE Document 7-2 Filed 12/09/10 Page 18 of 25 PagelD #: 63

Exhibit A

~ + WICHOLAS ZIROGIANNIS

Re DBILOAN #:

Dear Nicholas Ziogiannis,

IF YOU ARE ACTIVELY IN BANKRUPTCY, PLEASE DISREGARD THIS NOTICE.

American Servicing and Recovery Group (ASRG) has recently purchased your mortgage and partnered with
Dreambuilder Investments, LLC (DBI) to work with homeowners like you. Dreambuilder Investments
desigas custom solutions to help borrowers work though financial challenges and either stay in theit homes
or get a fresh start.

DBI is committed to helping its borrowers during these difficult times. One of the ways wedo this is by
allowing our borrowers to pay off their loans at substantial discounts. | We're able to do this because we
purchased your loan at 2 discount. ‘This allows us to extend part of that discount to you. We.can then use
that discount to help you pay off your mortgage and stay in your home or design another customized
solution that would fit your unique needs,

Our records indicate that the amount owed on your loan is APPROXIMATELY $155,261.50. This is an
estimate only and the actual amount due may be significantly higher. ,

Dreambuilder Investments is willing to offer you one of the following options:

Discounted Settlement:
One-time payment in the amount of $124,209.20 that will completely payoff and satisfy your loan. Payment
must be received by October 25, 2010 to be eligible for this opportunity.

90-Day Settlement Plan: Lo

Three monthly payments of $46,578.45(Total: $139,735.35) that will completely payoff and satisfy your loan.
‘The first payment must be received no later than October 25, 2010 and the full amount must be received no
later than December 26, 2010.

Refinance Assistance Program
Assistance in refinancing and paying off your current loans. Subject to eligibility.

Customized Payment Plan

Customized payment plan to suit your unique situation. In order to implement such a plan, it is critical that
you contact us as soon as possible. We cannot help you if we do not understand your financial situation.

Redacted -

Fresh Start Progtam
Enrollment in DBI’s Seller Assistance or Property Purchase Programs. Dreambuilder Investments has

helped hundreds of horneowners get out from ‘under the weight of negative equity (owing more than your
home is worth) and move on with their lives. In many cases, the best decision is remove the burden of high

mortgage payments and get a fresh start. That decision can be difficult and is made even harder when you
consider the time and energy involved with selling your property. DBI works directly with your senior lien
holder, realtors and attorneys to assist you in selling yout home and paying off your debt. Additionally, in

some cases, we are able to purchase your home directly for what is currently owed regardless of what it is -

worth. Rither way, our goal is to give you a fresh statt and resolve your current situation in a way that is a
win for all partics.

All of DBI’s options are designed with you, the borrower in mind. Because we are @ small company, you are
not just 2 aumber to us. Since DBI purchased your loan at @ discount, we can be flexible and create a
solution that works for you. The key is Communication! If you do not talk to us, we cannot help you. No
one will force you to do something that is not in your best interest. If you are uncertain or concemed,
please contact us OF have your attomey contact us and we can provide you any documentation you need.

Our goal is to help you move forward with hope instead of continuing to worry about tomorrow.

Tf you are currently in Bankruptcy, please distegard this notice of have your bankruptcy attorney contact us
so that we may work out an amicable solution with your attomey.

If you believe you are no longer responsible for this lien, please fill out the attached form so that we may
review your file and update our records. :

Thank you and we look forward to hearing from you.
Sincerely,

DBI Borrower Assistance Tearn

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CONTACT US
If you are interested in taking advantage of this offer please contact us by:

A) Cormpleting the attached forrn and
«© Faxing it to: 212-202-5195

© Mailing it co: 30 Wall Street ~ 6* Floor
New York NY 10005

B) Going to www.dreambuilder.net/bomeowner.btml and clicking on the link to the form.
C) Calling us at any time at 866-561-5600 and leaving a message
We look forward to hearing from you!

Dreambuilder Investments, LLC
30 Wall Street — 6" Floor

New York, NY 10005

Fax Number: 212-202-5195 -
Phone: 866-561-5600

INSUFFICIENT PAYOFF FUNDS

Any payoff funds received by Dreambuilder Investments, LLC for an amount less than that required to settle the
account in full, except in West Virginia, will be applied first to any loan payments delinquent or due, accrued interest,
recoverable advances and fees, Any temaining funds will be applied to the principal balance of the account. The
funds will be applied effective the day the payoff funds are received by Dreambuilder Investments, LLC. The account
will not be considered paid in full even if the negotiable instrument received contains ot is accompanied by language
asserting such. By accepting a negotiable instrument, Dreambuilder Investments, LLC does not revoke its legal claim

for all outstanding amounts due on the account. Interest will continue to accrue on the principal balance remaining
on the account until the entire outstanding amount is paid in full.

In the case of insufficient funds, the issuer of the instrument will be contacted for any remaining amount due and now
payable. Written authorization is required to credit a positive esctow balance to the payoff amount.

For accounts secured by property in the state of West Virginia: if the negotiable instrament is for an amount less than

what is required to pay the account in full, the issuer will be contacted prior to the application of the instrument to the
account. .

American Servicing and Recovery Group, LLC
Privacy Statement

a uf ANGEL PIVeCy MATES

Protecting the privacy of your non-public, ersonal customer information is. very important to us. This Privacy Statement is provided fo you to help you
understand what information we collect about you, how we protect your information internally, how your information Is shared with certain affiliates and
non-effilated third parties, and how your choices regarding the use of your personal information are appiied.

This statement applies to current and former customers of American Servicing and Recovery Group, LLC.

Collecting information About You
We collect Information about you from a variety of sources, including:

: Information that you provide on applications, payments, or other forms (such as your name, address, ‘and telephone number);

. Information about your transactions with us, our affiliates, or others (such as your account belances and payment history);

‘ Information we receive from third parties, such as consumer reporting agencies or prior servicers, to verify Information that you provided to us; i
and :

. Other generat information we collect about you not related to a request for a particular financial predict or service (such as demographic
Information),

Se eye min
We restrict access to your information to those employees who need the information to provide products of services fo you or to otherwise perform their
jod functions. Our information security policies govern access to Information, retention of information, and prétection of Information. We maintain
physical, lechnological, and procedural safeguards that comply with federal standards to guard your information.
Maintaining Accurate Information About You

At American Servicing and Recovery Group, LLC, we striva to keep your information complete and accurate, However, we encourage you to review
information In your correspondence and to notify us f you believe that your information Is incorrect. If you ever find that your information is inaccurate,
please write to us at the address listed so that we can correct any erroneous information and update your records accordingly. -

ath ath in American Servicing and Recovery Group, & :

in order to serve you more efficienty and to inform you of available products and services, we may share your information as permitted by law with
affiiated companies that are related to American Servicing and Recovery Group, LLC by common control orownership including:

’ Fimancial service providers (such as morigage companies or banks), or :

. Non-financial companies (such as technology service providers or direct markaters}.

in the course of our business, We maintain information about our customers primarily to enable customers te. transact with us and to satisly regulatory
requirements. We believe many customers appreciate recelving offerings of products and services that may be useful to them from time to time.
Accordingly, we may share information about you fn accordance with the law to meat certain business transactions as applicable and as Instructed by

21) ANIETCS C Bnd Up, 54.

in order io offer products and services that may be of interest to you and unless otherwise directed by you, we may discicse your information to. non-
affiliated third parties including: :

. Financial service providers (such as insurance companies oF companies offering financtal products or services), oF

. Non-financial companies (such as technology sevice providers, marketing companies, or retaileré).

As permitied by Jaw, we may disclose Information about you te companies that perform other services on our behalf, in addition, we may disclose
information, as required by law, fo administer, effact and enforce certain business transactions, We provide only the information that is necessary for the
third perty fo perform these services. When we shere your information, we take measures to restrict these. third parties to use the Information ebout you
only as necessary fo perform the services for us and to treat the Information with the same degres of confidentiality as us.

Marketin 8 :
in order to offer products and services that may be of interest to you, we may disclose your Information to non-affiliated third parties with whom we have
a joint agreement including:
° Financial service providers (such as insurance companies or companies offering financial products or sesvices), oF
. Non-financial companies (such as technology service providers, marketing companies, or retallors).

These aonaffiliated thid parties may market products and services of American Servicing and Recovery Group, LLC or products and services marketed"

_ Jointly by American Servicing and Recovery Group, LLC and other third parties. in any of these arrangements, we take measures to contractually restrict

usage of your information to the extent necessary to perform the services and as required under applicable taws.

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American Servicing and Recovery Group, LLC respects your privacy and honors your choices regarding your information. If you want us to continue
sharing your Information es permitted by law, it fs nol necessary to retum the attached Election Form. if you want to limit the sharing of your information,
you have the jallowing choices to consider: ,

Check Choice #4, |f you DO NOT want us to share your information with non-affiliates, except as otherwise permitted by law. Check Cholee #2. f you
DO NOT want us to share your Information with our affiliated companies, except as otherwise permitted by law.

You may select any of all of the above options on the attached Election Form.

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C u es for the Use of You : matt , 3
our choices Indicated on the enclosed opt-out election form will apply to ail products and services provided to you by American Servicing and Recovery"
Group, LLG assuming that you follow the instructions sel forth and you include all of the requested information necessary to process your choices on the

form. Your choices will apply to any and ail parties that have a joint account with you. If you have already submitted an opt out election form to us, you

do nat need fo send il again unless you want to change or update your choles. if you have not submitted an opt-out election form, please complete the
enclosed opt-out election form and send it back to us within thirty (30) days of your receipt of this notice so that we can process your request promptly.
The effective date of this policy statement is August 15, 2010, which indicates the last time this pollcy was revised or materially changed, Wearetain the
right to change the privacy policy statement at any time, Therefore, please note that you may obtain a current copy of our Privacy Statement al any time
by writing to us at:

American Servicing and Recovery Group, LLC

P.O. Box 225586 Dalias, TX 78222

As you maintain a custorner relailonship with us, we will provide our mest recent Privacy Statementto you atleast annually.

ne Use Our Fe IGE Bt FONNBUOT
American Servicing and Recovery Group, LLC respects your privacy and is committed to treafing your non-public, personal information responsibly. We
are committed to providing you with superior service and optional products that can improve your quality of life and enrich your experience 86 &
homeowner. Many of these products and services Include complementary benefits, discounts, special rates, and convenient payment methods.
Making the decision to prohibit shering of your Information may prevent us from sharing your information with our well-respected, carefully screened
business partners. Therefore, this choice may limit our ability to inform you. of valuable ‘and convenient produets and services from our pariner ;
companies, As a result, please read the fotowing choices carefully, follow the instructions completely, and check the appropriate boxes which pertain 0
you personally below. in order for us to fulfill your decision, you rust complete ell of the Information below within the next thirty (30) days upon receipt of
this notice, provide your signature, date the form, and mail it separately to us at the following address: .
American Servicing and Recovery Group, LLC . ie
P.O. Box 225566 Datlas, TX 75222

ny for C: /
‘American Servicing and Recovery Group, LLC Is licensed and examined under the laws of the State of Texas and by state law Is subject to regulatory
oversight by the Office of Consumer Credit Commissioner. Any consumer wishing to file a complaint should contact the Office of Consumer Credit
Commissioner either in person or by mail to: 2604 North Lamar Boulevard, Austin, Texas 78708-4207. Telephone: (800) 538-1579. Facsimile: (512)
936-7610. E-mall: consumer.complaints@oces, state. te.us. Website: www, cece. stale, b.us.

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‘The Information shating practices described above are in accordance with Federal law. Vermont law places additional Emits on sharing information about
customers who ete residents of Vermont. In accordance with Vermont law, American Servicing and Recovery Group, LLC will not share any information
about you except with your prior authorization or as permitted by law.

importent in formation for Gustomers in California
The information sharing prectices described above are In accordance with Federal law. California taw places additional limits on sharing information

about customers who are residents of California. in evoordance with California law, American Servicing and Recovery Group, LLC wil not share any
Information about you exeept with your prior authorization or as permitted by law. A separate notice is provided to all customers who are residents of

Cakfornia,
PRIVACY ELECTION FORM

_ Instructions: Please indicate your choice and mail this form to American Servicing and Recovery Group, LLC, PO Box 225586, Dallas,

TX 75222. DO NOT mail this form with your payment, Failure fo mall this form separately from your payment may result in delays in
processing your payment and invalidate your opt-out request.

Loan Number:

Borrower Name: SSN (Last 4 digits):
Co-Borrower Name: SSN (Last 4 digits):
Street Address: ‘ City, State, Zip:

O) Choice #1: | DO. NOT want my personal information shared among parties that are not affiiated with American Servicing and
Recovery Group, LLC, except as otherwise required or permitted by law.

C) Choice #2: | DO NOT want my personal information shared with parties affiliated with American Servicing and Recovery
Group, LLC, except as otherwise required or permitted by law.

1 understand that American Servicing and Recovery Group, LLC is permitted to share certain irdormation with Its affillates to transact
certain business initiated by me as explained herein regardless of my elections and that my choices will remain in effect until renewed,
revoked and/ or changed by me.

Signature: Date:

Signature, Date:

Please allow at least 4 fo 6 weeks for processing your request fo be effective. For Joint Account Holders: American Servicing and -

Recovery Group, LLC will implement a single opt-out direction by any one joint account holder identified above as ai to all of the~
associated joint holders. y any one j plying to all of the

Borrower Response Form

September 29, 2010

"NICHOLAS ZIROGIANNIS

LOAN +:

Contact Information:
Home Phone Best Times
Cell Phone Best Times
Work Phone Best Times
Other Phone Best Times
Fax Number
Email Address
Mailing Address

Option Selection

Yes I want to take advantage of your offer and accept the. following option:

Discounted Settlement (1 Payment of $124,209.20)
Settlement Payment Plan (3 Payments of $46,578.45)
Refinance Program (Please send me Application)

Fresh Start Program (Please send me Application)

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NO, I am unable to take advantage of your offer, but would like to speak to someone. Please
contact me.

O Your information is inaccurate. Here’s why:

1 Redacted

Customized Payment Plan (Please send me Application) .

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30 Wall Street, 6° Floor

*New York, NY 10005

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HOLAS ZIROGIANNIS
on, September 29, 2010

MORTGAGE LOAN TRANSFER DISCLOSURE NOTICE

Mortgage Loan Information
Date of Loan: 5/20/2007

Original Amount of Loan: $155,000.00
Property Address: (II iii iaas
New Owner Of Your Loan; American Servicing and Recovery Group

New Loan Number: QE
Transfer Date: 7/30/2010 Redacted

Dear Valued Customer:

Please be advised that the servicing of your mortgage loan or line of credit account (your “account”),
that is the right to collect payments from you, has been assigned, transferred or sold to American
Servicing and Recovery Group. This assignment, sale or transfer of the servicing of your account does
not affect any term or condition of the mortgage instruments, other than the terms directly related to the
servicing of your account. American Servicing and Recovery Group has partnered with
Dreambuilder Investments, LLC to assist in borrower contact efforts.

For more information or to send payments please use the following information:

Contact Center: Send Payments To:
Dreambuilder Investments, LLC Dreambuilder Investments, LLC.
30 Wall Street, 6th Floor, New York, NY, 10005 P.O. Box 975454, Dallas, TX 75397-5454 _

(866) 561-5600
Monday to Friday, 9:00 am to 5:30 pm (EST)

This paragraph is a special notice to our customers who have filed 2 petition for protection wader the United States bankruptcy
code. Uniess you have signed a reaffirmation agreement with American Servicing and Recovery Group, and that agreement has
bees filed with the bankruptcy court (and not subseqoently reselnded or disaliowed in accordance with the bankraptcy code}, you
should disregard all portions of this jetter which state or suggest that you still have a personal lability to. pay American Servicing
and Recovery Group. You may wish to consult with an attorney regarding this letter, your bankruptcy and the ability of American
Servicing and Recovery Group to enforce its liea on collateral, ff any. If yon have obtained 2 discharge under the bankruptcy code
this letter is for informational purposes or to protect our interests in any collateral,

sont

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